B6G (Official Form 6G) (12/07)


In re:   Netwurx, Inc.                                                                                                  08-26131
                                                                                              ,           Case No.
                                                                Debtor                                                                (If known)


          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
            interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
            lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
            a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
            or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
            Fed. R. Bankr. P. 1007(m).




     q   Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
               NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                          DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
                 OF OTHER PARTIES TO LEASE OR CONTRACT.                                              NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                          NUMBER OF ANY GOVERNMENT CONTRACT.


  Ameritech/SBC                                                                        Agreement




  ARIN, Ltd.                                                                           Service agreement




  AT&T                                                                                 Telephone contract
  P.O. Box 8100
  Aurora, IL 60507-8100




  City of Burlington                                                                   Tower agreement




  City of Hartford                                                                     Tower agreement




  Direct Link Tower, LLC                                                               Tower contract
  P.O. Box 270733
  Hartford, WI 53027




  ECB                                                                                  Tower contract
  3319 W. Beltline Hwy.
  Madison, WI 53713-4296




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B6G (Official Form 6G) (12/07) -Cont.


In re:   Netwurx, Inc.                                                                                   08-26131
                                                                                    ,         Case No.
                                                         Debtor                                                     (If known)


          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                   (Continuation Sheet)


                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
               NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
                 OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


  GE Capital                                                                Lease
  P.O. Box 740420
  Atlanta, GA 30374-0420




  Global Tower, LLC                                                         Tower contract
  P.O. Box 8312
  Fort Lauderdale, FL 33310-8312




  GTP Acquisition Partners II, LLC                                          Tower agreement




  Hustisford Utilities                                                      Tower lease agreement
  443 E. Griffith St.
  Hustisford, WI 53034




  IDC/Internet Dynamics Corp.                                               Contract




  K & S Golf                                                                Tower contract
  5905 Dunn Rd.
  Sturgeon Bay, WI 54235




  Lake Mills                                                                Tower agreement




  Lebanon                                                                   Tower agreement




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B6G (Official Form 6G) (12/07) -Cont.


In re:   Netwurx, Inc.                                                                                  08-26131
                                                                                 ,           Case No.
                                                        Debtor                                                     (If known)


          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                  (Continuation Sheet)


                                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
              NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
                OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                              NUMBER OF ANY GOVERNMENT CONTRACT.


  Midwest Tower Partners, LLC                                              Liberty Towers agreement




  Netwurx IDC - WLUM/WMCS                                                  Agreement




  Prairie Radio Communications                                             Tower contract
  P.O. Box 448
  Dekalb, IL 60115




  Satcom, LLC                                                              Tower contract
  P.O. Box 665
  Elm Grove, WI 53122-0665




  SBA Structures, Inc.                                                     Tower contract
  P.O. Box 952448
  St. Louis, MO 63195-2448




  Spangler Computers, Inc.                                                 Contract




  TDS Metrocom                                                             Co-location agreement




  Time Warner                                                              Telephone contract
  P.O. Box 511700
  Milwaukee, WI 53203




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B6G (Official Form 6G) (12/07) -Cont.


In re:   Netwurx, Inc.                                                                                  08-26131
                                                                                 ,           Case No.
                                                        Debtor                                                     (If known)


          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                  (Continuation Sheet)


                                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
              NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
                OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                              NUMBER OF ANY GOVERNMENT CONTRACT.


  Town Investments                                                         lease for room 703-324 E. Wisconsin Ave., Milwaukee, WI




  Town of Erin                                                             Tower agreement




  Towne Realty                                                             Office lease
  Dept. 00613
  Milwaukee, WI 53529




  Viking Communications                                                    Tower contract
  1421 S. 62nd St.
  Milwaukee, WI 53214




  Village of Cambridge                                                     Tower agreement




  Village of Chenequa                                                      Tower agreement




  Watertown Water Dept.                                                    Tower contract
  800 Hoffman Dr.
  Watertown, WI 53094




  White Elephant, LLP                                                      Lease for 35 E. Sumner St., Hartford, WI.




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